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                                 EXHIBIT D

                                Proposed Order
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:                                                           PROMESA
                                                                 Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
         as representative of                                    (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                             This filing relates to PBA and
                     Debtors. 1                                  ERS.


    ORDER GRANTING THREE HUNDRED FORTY-FIRST OMNIBUS OBJECTION (NON-
    SUBSTANTIVE) OF THE PUERTO RICO PUBLIC BUILDINGS AUTHORITY AND THE
         EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
     COMMONWEALTH OF PUERTO RICO TO CROSS-DEBTOR DUPLICATE CLAIMS

                 Upon the Three Hundred Forty-First Omnibus Objection (Non-Substantive) of the

Puerto Rico Public Buildings Authority and the Employees Retirement System of the Government

of the Commonwealth of Puerto Rico to Cross-Debtor Duplicate Claims (“Three Hundred Forty-

First Omnibus Objection”) 2 filed by the Puerto Rico Public Buildings Authority (“PBA”) and the



1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
        and the last four (4) digits of each Debtor’s federal tax identification number, as applicable,
        are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No.
        17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
        Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four
        Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority
        (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID:
        3808); (iv) Employees Retirement System of the Government of the Commonwealth of
        Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
        Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case
        No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico
        Public Buildings Authority (“PBA”, and together with the Commonwealth, COFINA,
        HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last
        Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case
        numbers due to software limitations).
2
    Capitalized terms not otherwise defined herein shall have the meanings given to such terms in
         the Three Hundred Forty-First Omnibus Objection.
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Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”),

by and through the Financial Oversight and Management Board for Puerto Rico (the “Oversight

Board”), dated June 18, 2021, for entry of an order disallowing in their entirety certain claims filed

against PBA or ERS, as more fully set forth in the Three Hundred Forty-First Omnibus Objection

and the supporting exhibits thereto; and the Court having jurisdiction to consider the Three

Hundred Forty-First Omnibus Objection and to grant the relief requested therein pursuant to

PROMESA section 306(a); and venue being proper pursuant to PROMESA section 307(a); and

due and proper notice of the Three Hundred Forty-First Omnibus Objection having been provided

to those parties identified therein, and no other or further notice being required; and each of the

claims filed against PBA or ERS identified in the column titled “Claims to Be Disallowed” in

Exhibit A to the Three Hundred Forty-First Omnibus Objection (collectively, the “Claims to Be

Disallowed”) being duplicative of claims asserted against the Commonwealth of Puerto Rico (the

“Commonwealth”), for which the asserted liability would lie, if at all, against the Commonwealth,

not PBA or ERS; and the Court having determined that the relief sought in the Three Hundred

Forty-First Omnibus Objection is in the best interest of PBA, ERS, their creditors, and all the

parties in interest; and the Court having determined that the legal and factual bases set forth in the

Three Hundred Forty-First Omnibus Objection establish just cause for the relief granted herein;

and after due deliberation and sufficient cause appearing therefor, it is hereby

                ORDERED that the Three Hundred Forty-First Omnibus Objection is GRANTED

as set forth herein; and it is further

                ORDERED that the Claims to Be Disallowed are hereby disallowed in their

entirety; and it is further




                                                  2
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                ORDERED that the Debtors’ right to object to the Remaining Claims is reserved;

and it is further

                ORDERED that Prime Clerk is authorized and directed to delete the Claims to Be

Disallowed from the official claims register in the PBA Title III Case and the ERS Title III Case;

and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.



Dated:


                                              Honorable Judge Laura Taylor Swain
                                              United States District Judge




                                                 3
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                                  ANEXO D

                               Orden propuesta
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO

In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,                                                             La presente radicación guarda
                       Deudores. 1                               relación con la AEP y el SRE.


 ORDEN POR LA QUE SE CONCEDE LA TRICENTÉSIMA CUADRAGÉSIMA PRIMERA
    OBJECIÓN GLOBAL (NO SUSTANTIVA) DE LA AUTORIDAD DE EDIFICIOS
 PÚBLICOS DE PUERTO RICO Y DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL
 GOBIERNO DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO A RECLAMACIONES
                 DUPLICADAS DE DEUDORES RECÍPROCOS

                 Vista la Tricentésima cuadragésima primera objeción global (no sustantiva) de la

Autoridad de Edificios Públicos de Puerto Rico y del Sistema de Retiro de los Empleados del

Gobierno del Estado Libre Asociado de Puerto Rico a Reclamaciones Duplicadas de Deudores



1
     Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de casos de quiebra debido a ciertas limitaciones en el programa
    informático).
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Recíprocos (la "Tricentésima cuadragésima primera objeción global") 2 radicada por la Autoridad

de Edificios Públicos de Puerto Rico (la "AEP") y el Sistema de Retiro de los Empleados del

Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE"), a través de la Junta de Supervisión

y Administración Financiera para Puerto Rico (la "Junta de Supervisión"), de fecha 18 de junio de

2021, en la que se solicita que se dicte una orden que rechace en su totalidad determinadas

reclamaciones radicadas contra la AEP o el SRE, según se expone con más detalle en la propia

Tricentésima cuadragésima primera objeción global y los anexos justificativos de la misma; y al

tener el Tribunal jurisdicción para atender la Tricentésima cuadragésima primera objeción global

y para conceder el remedio en ella solicitado conforme a PROMESA, sección 306(a); y siendo la

sede judicial competente conforme a PROMESA, sección 307(a); y habiéndose efectuado, en

tiempo y forma, la notificación de la Tricentésima cuadragésima primera objeción global a

aquellas partes que en ella se identifican, sin ser necesario efectuar ninguna otra notificación; y

constituyendo cada una de las reclamaciones radicadas contra la AEP o el SRE, identificadas en

la columna titulada "Reclamaciones que han de ser rechazadas" del Anexo A de la Tricentésima

cuadragésima primera objeción global (conjuntamente, las "Reclamaciones que han de ser

rechazadas"), un duplicado con respecto a las reclamaciones alegadas contra el estado Libre

Asociado de Puerto Rico (el "ELA"), en relación con la cual la responsabilidad alegada en todo

caso correspondería al ELA, no a la AEP ni al SRE; y habiendo determinado el Tribunal que el

remedio solicitado en la Tricentésima cuadragésima primera objeción global redunda en el mejor

interés de la AEP, del ser y de sus acreedores, así como de la totalidad de las partes interesadas; y

habiendo determinado el Tribunal que las bases de hecho y de derecho establecidas en la



2
     Los términos con mayúscula que no estén definidos en el presente documento tendrán el
    significado que les haya sido atribuido en la Tricentésima cuadragésima primera objeción global.


                                                  2
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Tricentésima cuadragésima primera objeción global establecen una causa justificada para el

remedio aquí concedido; y tras la debida deliberación y concurriendo suficientes motivos para ello,

por medio de la presente,

               SE ORDENA que SE CONCEDA la Tricentésima cuadragésima primera objeción

global, según se establece en el presente documento; además

               SE ORDENA que se rechacen en su totalidad las Reclamaciones que han de ser

rechazadas; asimismo

               SE ORDENA que el derecho que asiste a los Deudores a objetar a las

Reclamaciones Restantes quede reservado; también

               SE ORDENA que Prime Clerk quede autorizada, y reciba instrucciones, para

eliminar las Reclamaciones que han de ser rechazadas del registro oficial de reclamaciones en el

marco del Caso de Título III de la AEP y el Caso de Título III del SRE; y por último

               SE ORDENA que este Tribunal conserve jurisdicción para atender y resolver la

totalidad de las materias que surjan de, o en relación con, la implementación, interpretación o

ejecución de la presente Orden.



Fecha:


                                             Su señoría, la juez Laura Taylor Swain
                                             Juez de Distrito de los Estados Unidos
                                             (United States District Judge)




                                                3
